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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 0:20-cv-62567-AOV

  BRITTNIE ANDERSON,
  BIANCA F. CURATOLO, and
  DANIEL TAYLOR, on or behalf of
  themselves and on behalf of all others
  similarly situated,

         Plaintiffs,

         v.

  HAMZEH ALASFAR, TAYSEER ALKHAYATT,
  CELLPORT INTERNATIONAL, INC. and
  TAHA ALASFAR,

        Defendants.
   ___________________________________/

                          DEFENDANTS’ RESPONSE TO PLAINTIFFS’
                       MOTION TO ENFORCE SETTLEMENT AGREEMENT

         Defendants,     HAMZEH       ALASFAR,      TAYSEER       ALKHAYATT,         CELLPORT

  INTERNATIONAL, INC., and TAHA ALASFAR (“Defendants”), by and through their

  undersigned counsel hereby file their Response to Plaintiffs’ Motion to Enforce Settlement

  Agreement and would show:

     1. The Defendants are without question behind on their payments.

     2. The undersigned has communicated with the Defendants and has advised them of the

         potential consequences of this motion. As a result, it is the undersigned’s understanding

         that a payment of $500.00 was overnighted to counsel for Plaintiffs and that Defendants

         have advised the undersigned they will continue to make equivalent payments on a monthly

         basis going forward.

     3. The business entity was a failure from the onset and is no longer in operation, Thus, the
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         individuals bear sole responsibility to try and make the payments.

     4. However, based upon an order the undersigned received today, admittedly as a surprise to

         all counsel in that case, the undersigned believes the Court lacks jurisdiction to entertain

         this motion. In a matter where the Parties agreed to a reservation of jurisdiction as is the

         case here, Judge Dimitrouleus denied the request to accept a reservation as stated in the

         attached order.

     5. The verbiage in the settlement agreement here is consistent with the language in the Judge

         Dimitrouleas case and therefore does not meet the standard espoused by the Court in that

         matter.

     6. Thus, notwithstanding any acceptance of jurisdiction by this Court even with the agreement

         of the parties as was the case here, the methodology used to obtain that reservation was

         inconsistent with the attached order, and appears to have been ineffective.



  Dated: June 24, 2022

                                               LAW OFFICES OF CHARLES EISS, P.L.
                                               Attorneys for Plaintiff
                                               7951 SW 6th Street, Suite 112
                                               Plantation, Florida 33324
                                               (954) 914-7890 (Telephone)
                                               (855) 423-5298 (Facsimile)

                                        By:     /s/ CHARLES EISS
                                               CHARLES M. EISS, Esq. (FBN: 612073)
                                               chuck@icelawfirm.com




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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 24th day of June, 2022 I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record or pro se parties identified on the

  attached Service List in the manner specified, either via transmission of Notices of Electronic

  Filing generated by CM/ECF or in some other authorized manner for those counsel or parties who

  are not authorized to receive electronically Notices of Electronic Filing.



                                                        s/ Charles Eiss
                                                        CHARLES EISS, ESQ.




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                                           SERVICE LIST
                         Brittnie Anderson, et. al v. Hamzeh Alasfar, et al.,
                                   Case No.: 0:20-cv-62567-AOV
                       United States District Court Southern District of Florida


  Christopher J. Saba, Esq
  Fla Bar No.: 0092016
  Email: csaba@wfcla.com
         tsoriano@wfclaw.com
  WENZEL FENTON CABASSA, P.A.
  1110 North Florida Avenue, Suite 300
  Tampa, Florida 33602
  Phone: (813) 224-0431
  Fax: (813) 229-8712

  Attorney for Plaintiffs


  Charles Eiss, Esq.
  Fla. Bar No.: 612073
  Email: chuck@icelawfirm.com
  Shanna Wall, Esq.
  Fla. Bar No,: 0051672
  Email: shanna@icelawfirm.com
  Law Offices of Charles Eiss, P.L.
  7951 SW 6th Street, Suite 112
  Plantation, FL 33324
  (954) 914-7890 (Telephone)
  (855) 423-5298 (Facsimile)

  Attorney for Defendants

  Method of Service: CM/ECF




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